        Case 19-00746-LA13              Filed 02/28/19              Entered 03/01/19 09:51:48          Doc 10      Pg. 1 of 1
CSD 2011 [10/25/17]
Name, Address, Telephone No. & I.D. No.
          DAVID L. SKELTON, TRUSTEE #96250
          REBECCA E. PENNINGTON #174488
          RICHARD L. STEVENSON #239705
          OFFICE OF THE CHAPTER 13 TRUSTEE                                                                March 1, 2019
          525 B STREET, SUITE 1430
          SAN DIEGO, CA 92101 (619)338-4006


              UNITED STATES BANKRUPTCY COURT
                  SOUTHERN DISTRICT OF CALIFORNIA
              325 West F Street, San Diego, California 92101-6991


In Re

Ernestine B. Juhan
                                                                                          BANKRUPCY NO.   19-00746 LA13

                                                                          Debtor.


                                    TRUSTEE’S MOTION TO DISMISS CASE AND ORDER

        The undersigned Trustee respectfully represents that:
        More than fourteen (14) days have elapsed since the filing of the petition and the debtor has failed to timely file
        either schedules, statements and/or plan required pursuant to Fed. R. Bankr. P. 1007(b) or a motion for
        extension of time pursuant to Fed. R. Bankr. P. 1007(a)(4).
        The debtor failed to appear and testify at the Meeting of Creditors held on ___________.
        If checked, this case was filed by the filing of a joint petition and this motion applies to only one of the debtors,
        namely:         . Wherefore, the Trustee moves that the within case be dismissed without prejudice.


 Dated:    February 28, 2019                                         /s/ David L. Skelton
                                                                          Chapter 7 Trustee                Chapter 13 Trustee

                                                          ORDER
 IT IS HEREBY ORDERED AND ADJUDGED THAT:
        1. This case is dismissed without prejudice as to this debtor only.
        2. All related adversary proceedings which are pending are also dismissed subject to the provisions of Local
           Bankruptcy Rule 7041-2(a).
        3. All stays now in effect for this case are vacated and the provisions of 11 U.S.C. § 349 will hereafter apply.




 DATED:       February 28, 2019

                                                                                    Judge, United States Bankruptcy Court




CSD 2011
